                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

JOHNNY M. HUNT,              )
                             )
     Plaintiff,              )
                             )
vs.                          )                        Case No. 3:23-cv-00243
                             )
SOUTHERN BAPTIST CONVENTION; )                        Judge Campbell
GUIDEPOST SOLUTIONS LLC; and )                        Magistrate Judge Frensley
EXECUTIVE COMMITTEE OF THE )                          Jury Demand
SOUTHERN BAPTIST CONVENTION, )
                             )
     Defendants.             )



                       PLAINTIFF’S THIRD MOTION TO COMPEL


       Pursuant to Rule 37 of the Federal Rules of Civil Procedure, Plaintiff Johnny M. Hunt, by

and through the undersigned counsel, respectfully moves this Court to compel Defendants to

comply with Plaintiff’s deposition notices.

       As explained in the accompanying Memorandum, Defendants are refusing to comply

with deposition notices, refusing to schedule depositions in an orderly fashion, and generally

abusing the discovery process. Defendants’ refusal to comply with their obligations under the

Federal Rules of Civil Procedure is stalling the progression of this litigation. For the foregoing

reasons, as well as the reasons set forth in the accompanying Memorandum, this Court should

grant this Motion.

       As required by Local Rule 7.01, counsel for Plaintiff hereby certifies that they have

attempted to confer in good faith with counsel for each of the Defendants regarding the nature of

this Motion, the issues raised in this Motion, and the relief requested in this Motion.



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Dated:     February 21, 2024        Respectfully submitted,


                                    s/ Andrew Goldstein
                                    Todd G. Cole, Esq., BPR # 031078
                                    Andrew Goldstein, Esq., BPR # 037042
                                    COLE LAW GROUP, P.C.
                                    1648 Westgate Circle, Suite 301
                                    Brentwood, TN 37027
                                    Telephone: (615) 490-6020
                                    Fax: (615) 942-5914
                                    tcole@colelawgrouppc.com
                                    agoldstein@colelawgrouppc.com


                                    -and-


                                    Robert D. MacGill, Esq. (pro hac vice)
                                    Scott E. Murray, Esq. (pro hac vice)
                                    Patrick J. Sanders, Esq. (pro hac vice)
                                    MACGILL PC
                                    156 E. Market St.
                                    Suite 1200
                                    Indianapolis, IN 46204
                                    Telephone: (317) 721-1253
                                    robert.macgill@macgilllaw.com
                                    scott.murray@macgilllaw.com
                                    patrick.sanders@macgilllaw.com


                                    Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

        I hereby certify that I caused a true and correct copy of the foregoing Plaintiff’s Third
Motion to Compel to be electronically filed with the Clerk of the Court on February 21, 2024,
using the CM/ECF system, which will automatically serve all counsel of record listed below:

 Todd G. Cole, Esq.                                       Scarlett Singleton Nokes, Esq.
 Andrew Goldstein, Esq.                                   R. Brandon Bundren, Esq.
 COLE LAW GROUP, P.C.                                     E. Todd Presnell
 1648 Westgate Circle, Suite 301                          BRADLEY ARANT BOULT CUMMINGS LLP
 Brentwood, TN 37027                                      1600 Division Street, Suite 700
 Telephone: (615) 326-9059                                Nashville, Tennessee 37203
 tcole@colelawgrouppc.com                                 Telephone: (615) 244-2582
 agoldstein@colelawgrouppc.com                            snokes@bradley.com
                                                          bbundren@bradley.com
 Robert D. MacGill, Esq.                                  tpresnell@bradley.com
 Scott E. Murray, Esq.
 Patrick J. Sanders, Esq.                                 Gene R. Besen, Esq.
 MACGILL PC                                               BRADLEY ARANT BOULT CUMMINGS LLP
 156 E. Market St.                                        Fountain Place
 Suite 1200                                               1445 Ross Avenue, Suite 3600
 Indianapolis, IN 46204                                   Dallas, Texas 75202
 Telephone: (317) 721-1253                                Telephone: (214) 257-9758
 robert.macgill@macgilllaw.com                            gbesen@bradley.com
 scott.murray@macgilllaw.com
 patrick.sanders@macgilllaw.com                           Thomas J. Hurney, Jr., Esq.
                                                          Gretchen M. Callas, Esq.
 Counsel for Plaintiff                                    JACKSON KELLY PLLC
                                                          500 Lee Street East, Suite 1600
 John R. Jacobson, BPR #14365                             Post Office Box 553
 Katharine R. Klein, BPR #19336                           Charleston, West Virginia 25322
 Riley & Jacobson, PLC                                    Telephone: 304-340-1000
 1906 West End Avenue                                     thurney@jacksonkelly.com
 Nashville, TN 37203                                      gcallas@jacksonkelly.com
 (615) 320-3700
 (615) 320-3737 Facsimile                                 Counsel for the Executive Committee of the
 jjacobson@rjfirm.com                                     Southern Baptist Convention
 kklein@rjfirm.com




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Steven G. Mintz (admitted pro hac vice)          L. Gino Marchetti, Jr., Esq.
Terence W. McCormick (admitted pro hac vice)     Matt C. Pietsch, Esq.
Scott Klein (admitted pro hac vice)              TAYLOR, PIGUE, MARCHETTI & BLAIR,
Mintz & Gold LLP                                 PLLC
600 Third Avenue                                 2908 Poston Avenue
25th Floor                                       Nashville, TN 37203
New York, NY 10016                               Telephone: (615) 320-3225
Telephone: (212) 696-4848                        gmarchetti@tpmblaw.com
mintz@mintzandgold.com                           matt@tpmblaw.com
mccormick@mintzandgold.com
klein@mintzandgold.com                           Counsel for the Southern Baptist Convention

Counsel for Defendant
Guidepost Solutions LLC




                                               s/ Andrew Goldstein
                                               ANDREW GOLDSTEIN




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